
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 96-1612

                              TASHIMA WILLIAMS, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                        THE HANOVER HOUSING AUTHORITY, ET AL.,

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                 Stahl, Circuit Judge,
                                        _____________

                     Aldrich and Campbell, Senior Circuit Judges.
                                           _____________________

                                 ____________________

            Judith Liben  with whom  Ernest Winsor,  Massachusetts Law  Reform
            ____________             _____________
        Institute, were on briefs for appellant.
            Bernard M. Ortwein for appellees.
            __________________


                                 ____________________

                                     May 22, 1997
                                 ____________________


























                      CAMPBELL, Senior  Circuit Judge.  At  issue in this
                                _____________________

            appeal  is whether the  plaintiffs in an  action they brought

            under 42  U.S.C.   19831  are entitled to  recover attorneys'

            fees under 42 U.S.C.   1988.2  In the course of plaintiffs'  

            1983  action,  the  district court  determined  an underlying

            state law  issue in plaintiffs'  favor.  Because  federal and

            state  officials  thereupon  accepted  the  district  court's

            interpretation        reversing   a   former   interpretation

            challenged by  plaintiffs    the    1983 action  became moot.

            The district  court denied attorneys' fees,  ruling that fees

            under   1988   were improper as plaintiffs had  vindicated no

            federal right.   Williams  v. Hanover  Housing Auth.,  926 F.
                             ________     ______________________

            Supp.  10  (D. Mass.  1996).   See  also Williams  v. Hanover
                                           ___  ____ ________     _______

            Housing Auth., 871  F. Supp. 527 (D. Mass. 1994).   The court
            _____________

                                
            ____________________

            1.  Section 1983 provides, in relevant part:
                 "Every  person  who, under  color  of  any statute,
                 ordinance,  regulation,  custom, or  usage,  of any
                 State or  Territory  or the  District of  Columbia,
                 subjects, or causes to be subjected, any citizen of
                 the  United  States  or  other  person  within  the
                 jurisdiction  thereof  to  the deprivation  of  any
                 rights,  privileges, or  immunities secured  by the
                 Constitution and laws, shall be liable to the party
                 injured in  an action at  law, suit  in equity,  or
                 other proper proceeding for redress."
            42 U.S.C.   1983 (West 1994).

            2.  Section 1988 provides, in pertinent part:
                 "In any action or proceeding to enforce a provision
                 of section [] . . . 1983  . . . , the court, in its
                                                              ______
                 discretion,  may allow the  prevailing party, other
                 __________             _____________________
                 than the United States, a reasonable attorney's fee
                 as part of the costs."
            42 U.S.C.   1988(b) (West 1994) (emphasis added).


                                         -2-















            also declined fees as  a matter of discretion.   We conclude,

            notwithstanding plaintiffs failure to prevail on specifically

            federal grounds, that they are nonetheless prevailing parties

            under   1988, and entitled to fees.

                                          I.
                                          I.

                      The  disputed fees  claim arises  in the  following

            circumstances.    The  plaintiffs-appellants  were  receiving

            federal  housing  subsidies under  Section  8  of the  United

            States Housing Act of 1937,  as amended.3  In April of  1993,

            they brought an  action under  42 U.S.C.    1983 against  the

            Arlington   and   Danvers,   Massachusetts,  Public   Housing

            Authorities  (the "Authorities"),  as  well  as  against  the

            Hanover,  Massachusetts  Public  Housing  Authority  and  the

            Secretary of the Department  of Housing and Urban Development

            ("HUD").4      Plaintiffs-appellants    alleged   that    the

            Authorities,   with  HUD's   approval,  were   illegally  and

            unconstitutionally preventing them from using their Section 8

            subsidies for housing outside  the geographical limits of the

            city or town within  which the Authority issuing  the subsidy

            was  located.    The Authorities  are  quasi-public  entities


                                
            ____________________

            3.  Plaintiffs'-appellants' subsidies were provided under the
            Section 8 Rental Certificate and Voucher Programs.  42 U.S.C.
              1437f(r).  See 24 C.F.R. Parts 882, 887 (1995).  
                         ___


            4.  Appellants  did  not  seek attorneys'  fees  against  the
            Hanover Public  Housing Authority, nor  against the Secretary
            of HUD, and these defendants are not parties to this appeal.

                                         -3-















            established under Massachusetts law to administer federal and

            state  housing programs.   Mass. Gen.  Laws ch. 121B,    1 et
                                                                       __

            seq. (West 1986 &amp; Supp. 1996).  
            ____

                      The Housing Act of  1937, which includes Section 8,

            sought  to provide  an  adequate supply  of  housing for  low

            income  families by  subsidizing  their rent  in the  private

            market.  42 U.S.C.   1437f(a) (West 1994).  Section 8 allowed

            tenants wider geographical choice than  did earlier programs,

            increasing opportunities to obtain dwellings in areas of less

            concentrated  poverty.   42 U.S.C.    1437f(r)  (West 1994).5

            See  also Cranston-Gonzalez National  Affordable Housing Act,
            ___  ____

            Pub.  L. No. 101-625,    551, 104 Stat.  4224 (1990); Housing

            and Community Development Act of 1987, Pub. L. No. 100-242,  

            145, 101 Stat. 1852 (1988).

                      The Act  leaves it up  to the  states, however,  to

            determine the  area within which a  particular public housing

            authority may  contract with landlords  to furnish subsidized

            housing.  HUD, the federal agency administering the Section 8

                                
            ____________________

            5.  Section 1437f(r) provides, in part:
                      "(1) Any family assisted under subsection
                      (b)  or (o) of  this section  may receive
                      such  assistance  to  rent   an  eligible
                      dwelling  unit if  the  dwelling unit  to
                      which the family moves is within the same
                      State,   or  the  same  or  a  contiguous
                      metropolitan  statistical   area  as  the
                      metropolitan   statistical  area   within
                      which is located the area of jurisdiction
                      of  the  public housing  agency approving
                      such assistance  . . . ."   42  U.S.C.   
                      1437f(r)(1) (West 1994).

                                         -4-















            housing programs, provided in  its regulations that the local

            public  housing   authorities   will  determine   their   own

            jurisdictional  reach by  reference  to state  law.   See  24
                                                                  ___

            C.F.R.   882.103(a) (1995).

                      In 1977, HUD was  presented with conflicting  legal

            opinions  from  two  different Massachusetts  public  housing

            authorities as  to whether  they could legally  contract with

            private landlords outside  their municipal boundaries.6   HUD

            asked  the Massachusetts Executive  Office of Communities and

            Development ("EOCD"), the state agency that supervises  local

            public  housing authorities, to seek a legal opinion from the

            Massachusetts Attorney General.   Instead, the EOCD  provided

            its own legal opinion, which was that a Massachusetts  public

            housing authority  could not contract with  private landlords
                               _________

            outside its municipal  boundaries, except  by agreement  with

            another  local  public  housing   authority.    HUD  and  the

            Authorities accepted and followed  the EOCD's opinion on this

            matter.   The extent of a local authority's "jurisdiction" to

            provide subsidized housing took on added significance in 1992

            when  Congress amended the portability rules of the Section 8

            housing programs.   Plaintiffs say that  the amendment forced


                                
            ____________________

            6.  The Cambridge Housing  Authority, like the plaintiffs  in
            this  case, took  the position  that state  law does  not bar
            local public housing authorities from contracting anywhere in
            the  Commonwealth,  while  the Arlington  Housing  Authority,
            similar to  the defendants  in this litigation,  took a  much
            narrower view of Section 8 "jurisdiction."

                                         -5-















            them and others  like them  to seek rental  units within  the

            jurisdiction of  a single authority.7   Unless that authority

            could provide  housing beyond its  municipal limits,  tenants

            like plaintiffs  were curtailed in their  mobility and choice

            of housing.   Faced with  this situation, plaintiffs  sued in

            the district court under    1983 in April of 1993,  seeking a

            judicial determination of  their right to use their Section 8

            housing subsidies in  any community within the  Commonwealth.

            To  expedite a  decision, the  parties agreed that  the facts

            would be submitted as  a case stated.  See  Continental Grain
                                                   ___  _________________

            Co. v. Puerto Rico Maritime Shipping Auth., 927 F.2d 426, 429
            ___    ___________________________________

            n.7 (1st Cir. 1992).

                      In contending that it was unlawful for HUD and  the

            Authorities to restrict their  Section 8 housing subsidies to

            the  city or town in which the issuing Authority was located,

            the   tenants  alleged  that  the  geographical  restrictions

                                
            ____________________

            7.  Section 147 of the  Housing and Community Development Act
            of  1992 amended  the portability provisions  of 42  U.S.C.  
            1437f by providing that:
                      "any   family   not  living   within  the
                      jurisdiction of a  public housing  agency
                      at the  time that such family applies for
                      assistance from such agency shall, during
                      the  12-month  period beginning  upon the
                      receipt   of   any  tenant-based   rental
                      assistance  made  available on  behalf of
                      the family, use  such assistance to  rent
                      an eligible dwelling unit  located within
                      the  jurisdiction  served by  such public
                      housing agency."   Housing and  Community
                      Development  Act      147,  42  U.S.C.   
                      1437f(r)(1) (West 1994).


                                         -6-















            violated   42   U.S.C.      1437f(r)(1),  the   relevant  HUD

            regulations,  Title VIII of the Civil Rights Act of 1968, and

            42  U.S.C.   1983.   They also alleged  that the restrictions

            interfered  with their  constitutional right to  travel under

            the  Fifth and  Fourteenth  Amendments to  the United  States

            Constitution.

                      Fearing the  loss of  their Section 8  subsidies if

            they could not immediately  find housing within the municipal

            boundaries of  the  Authority that  issued  their  respective

            Section   8  certificates,   the   plaintiffs  moved   for  a

            preliminary  injunction  that   would  toll  or   freeze  the

            subsidies' expiration dates.  The need for preliminary relief

            ceased, however, when defendants  agreed not to terminate the

            plaintiffs' subsidies while the case was pending.

                      After reviewing submissions and  hearing arguments,

            the district  court issued  an oral  opinion on September  9,

            1993,  followed by a  written decision on  December 12, 1994.

            See Williams, 871  F. Supp.  at 527-35.   The district  court
            ___ ________

            stated in both that, in its view, Massachusetts law permitted

            state public  housing authorities to contract  with landlords

            owning dwellings outside their municipal boundaries.

                      Less than  a month after the  district court's oral

            opinion, HUD  issued a directive to  the Massachusetts public

            housing authorities informing them that all Section 8 tenants

            could henceforth use their  housing subsidies anywhere in the



                                         -7-















            Commonwealth.   HUD,  as the  district court  later declared,

            Williams,  926 F. Supp.  at 12, treated  the district court's
            ________

            ruling  as   an  authoritative  declaration   of  state  law,

            superseding  the   contrary  opinion   of  the  EOCD.     The

            Authorities also went along.

                      While the  district court rendered its  own opinion

            as to an authority's jurisdiction, it also certified the same

            question  to  the  Massachusetts  Supreme   Judicial  Court.8

            Before  that court  reached  the matter,  the district  court

            withdrew  its  certification,  in  part  because  of  certain

            changes in HUD's regulations.  At a November 30, 1995 hearing

            in  the district court to  determine the status  of the case,

            HUD  assured the district court that, in spite of its changed

            regulations,9 it would continue to instruct all Massachusetts

            public  housing authorities to abide by  the court's oral and

            written decisions  issued in  plaintiffs'    1983 case.   The

            district court thereupon dismissed the   1983  action as moot

            and   plaintiffs   petitioned,   unsuccessfully,  for   their

            attorneys' fees.  

                                         II.
                                         II.

                                
            ____________________

            8.  The district court certified the following question:
                      "Is   a   Massachusetts  Public   Housing
                      Authority legally barred from contracting
                      with landlords outside the  boundaries of
                      the organizing city or town?"


            9.  Compare 24 C.F.R.    882.103(a) (1995) with 60  Fed. Reg.
                _______                                ____
            34660, 34697 (1995).  

                                         -8-















                      In  its  opinion denying  to  plaintiffs attorneys'

            fees  under 42 U.S.C.   1988, the district court stated that,

            to receive fees, the plaintiffs  had to be prevailing parties

            in their   1983 action.  In that action, the court continued,

            plaintiffs claimed  to have been deprived  of "rights secured

            by  federal  statutes,  regulations  and  the  United  States

            Constitution."  Williams, 926 F. Supp. at 13.  In the court's
                            ________

            view, plaintiffs  never became  entitled to fees  because the

            court never found that they "had a right under federal law to

            have  the Authorities  contract  outside of  their  political

            boundaries for Section 8 housing."  Id.  Rather the import of
                                                ___

            the court's  ruling was that  state, not federal  law allowed

            the  Authorities  to  contract  outside  of  their  political

            boundaries.  Id.   As plaintiffs did not vindicate  a federal
                         ___

            right, the  district court believed  that   1988  provided no

            right to fees.

                      The  court also  stated, as  a separate  ground for

            decision, that it would refrain from awarding attorneys' fees

            as a matter of discretion, even  assuming plaintiffs could be

            said to have prevailed on a federal right.

                                         III.
                                         III.

                      In reviewing the  district court's denial of  fees,

            we  turn first to its ruling that, because plaintiffs did not

            prevail  on any of their federal claims, they are barred from

            receiving  attorneys'  fees under     1988.   We  review this



                                         -9-















            ruling  de novo as it presents essentially a question of law,
                    __ ____

            not the individualized considerations  which lead us to apply

            a deferential  review standard.   See  Domegan v.  Ponte, 972
                                              ___  _______     _____

            F.2d 401, 406 n.8 (1st Cir. 1992).

                      We  think   the   district  court's   analysis   is

            unsupported  by Supreme Court precedent and  that of this and

            other circuits.  The clear tendency of the courts has been to

            apply  the  fees  statute  in  a  more   practical  and  less

            restrictive way.

                      Section  1988 itself nowhere states that attorneys'

            fees  can be awarded only  to those who  prevail on expressly

            federal grounds.  To be sure, the statute specifies that fees

            are to be  awarded only  "in" any of  the enumerated  federal

            causes of action, including   1983.  Note 2, supra.  And fees
                                                         _____

            can  be  allowed  only  to  a  prevailing  party.    But  the

            attorneys'  fees being requested here  are for services in an

            action  to  enforce a  provision of     1983 and  (as further

            discussed below) plaintiffs  have, in every  practical sense,

            prevailed    having, as  a result of their  lawsuit, achieved

            precisely the end-relief they wanted, namely the right to use

            their  Section  8  housing subsidies  outside  the  political

            boundaries of the Authority providing the subsidy.

                      To uphold the district court's rationale,  we would

            have to read into   1988 an implied further requirement that,

            to be  a prevailing party, it  is necessary not only  to have



                                         -10-















            secured a significant objective of one's federal lawsuit, but

            to  have  done so  by obtaining  a  favorable ruling  on some

            federal legal  or constitutional claim advanced  in the suit.

            A theory akin  to this  was rejected seventeen  years ago  in

            Maherv. Gagne, 448 U.S. 122 (1980), the Supreme Court saying,
            _____   _____

                      "The   fact  that   respondent  prevailed
                      through  settlement  rather than  through
                      litigation does not  weaken her claim  to
                      fees.  Nothing in  the language of   1988
                      conditions the District Court's  power to
                      award  fees on  full  litigation  of  the
                      issues  or  on  a judicial  determination
                      that  the  plaintiffs'  rights have  been
                      violated.    Moreover, the  Senate Report
                      expressly  stated  that 'for  purposes of
                      the award of counsel fees, parties may be
                      considered  to  have prevailed  when they
                      vindicate   rights   through  a   consent
                      judgment  or   without  obtaining  relief
                      . . . ."

            Maher, 448 U.S. at 129 (citation omitted).
            _____

                      Maher, it is true, did not deal with  precisely the
                      _____

            present situation,  where  the winning  party  has  prevailed

            through the  federal court's favorable  interpretation of  an

            issue of state law.  But decisions in this and other circuits

            have dealt with outcomes  like the present.   These decisions

            indicate that  it  is immaterial  for    1988  purposes  that

            plaintiffs'  success in  the    1983  action  results from  a

            favorable ruling on a relevant issue of state law, so long as

            the state law issue and the federal claims being  made in the

              1983 proceeding are closely interrelated. 





                                         -11-















                      Judge (now Justice)  Breyer writing for this  court

            in  Aubin  v.  Fudala, 782  F.2d  287,  291  (1st Cir.  1986)
                _____      ______

            (citation omitted),  said that  "'victory' in a  civil rights

            suit is typically  a practical rather  than a strictly  legal

            matter."  The court went on  to endorse the Aubins' right  to

            fees if they received  "the basic relief they sought  (but on

            the  state  claim) and  if, in  fact,  the state  and federal

            claims  are factually and  legally interconnected."   Id.  In
                                                                  ___

            Aubin,  id.,  we quoted  the statement  in  10 C.  Wright, A.
            _____   ___

            Miller  &amp; M. Kane, Federal  Practice and Procedure    2675 at

            306 (2d  ed. 1983), that    1988  "has been applied  to allow

            fees  for the  successful  prosecution of  pendant state  law

            claims when the federal claims, though presenting substantial

            federal issues,  never were  reached by the  district court."

            See, e.g.,  Milwe v. Cavuoto, 653 F.2d  80, 84 (2d Cir. 1981)
            ___  ____   _____    _______

            (reasonable fee should  not be denied simply because the jury

            awarded  substantial damages  only in  the pendant  state law

            claim).

                      Virtually   identical  to   the  present   was  the

            situation  in  our  case of  Exeter-West  Greenwich  Regional
                                         ________________________________

            School v. Pontarelli, 788  F.2d 47 (1st Cir. 1986).   We said
            ______    __________

            there  that  attorneys' fees  were  recoverable in  a    1983

            action  where  plaintiffs  prevailed  on a  state  law  issue

            arising  from the same nucleus of common facts as the federal

            claims,  provided  the  latter  were  substantial  enough  to



                                         -12-















            support  federal jurisdiction.  Id.  at 51-53.   There, the  
                                            ___

            1983 action    alleging that a state education commissioner's

            interpretation and  application of  a state law  violated the

            federal  constitution     became moot  when the  Rhode Island

            Supreme Court, on certification from the federal court, ruled

            that  the   commissioner  had   interpreted  the   state  law

            incorrectly.  As here,  the favorable interpretation of state

            law  came  as a  consequence of  the    1983  litigation, the

            federal court,  as part of that  proceeding, having certified

            the  determinative state  law  question to  the state  court,

            which  overturned the commissioner's interpretation.  Also as

            here,  the federal claims in  the lawsuit were  mooted by the

            state law ruling and were never decided.  

                      In the  present case, as in  Exeter-West Greenwich,
                                                   _____________________

            the  unfavorable  interpretation   of  state  law  that   led

            plaintiffs to bring the    1983 action was also  certified to

            the  highest state  court.   However,  the certification  was

            withdrawn   and  federal  and  state  authorities  agreed  to

            continue to  abide by the district  judge's own determination

            of  state law    a determination that had reversed the EOCD's

            construction  challenged in  the    1983 lawsuit.   Following

            Exeter-West Greenwich, therefore, we see  no legal impediment
            _____________________

            to  allowing plaintiffs  their attorneys'  fees under    1988

            even though their  victory rests  on a state,  not a  federal





                                         -13-















            ground.   See also Paris  v. U.S.  Dept. of  Housing &amp;  Urban
                      ___ ____ _____     ________________________________

            Dev., 988 F.2d 236, 239-40
            ____

            n.7 (1st  Cir. 1993) (quoting legislative  history of "almost

            identical"  bill to  that which  produced    1988, supporting

            recovery of fees if the claim  for which fees may be  awarded

            meets the "substantiality" test in Hagans v. Lavine, 415 U.S.
                                               ______    ______

            528  (1974), even though court  declines to enter judgment on

            that  claim, so long  as plaintiff prevails  on non-fee claim

            arising out of a common nucleus of operative fact).

                      It is,  of course,  important to our  decision that

            the dispositive state law question was closely interconnected

            with the federal claims.   Here, as in Exeter-West Greenwich,
                                                   _____________________

            the federal statutory and constitutional claims made in the  

            1983  action were  directed  at  overthrowing an  unfavorable

            state law ruling.  Whether that ruling was itself correct was

            a  legitimate question for consideration  in the   1983 suit:

            if,   as   the   district   court   determined,   the  EOCD's

            interpretation was  incorrect, there  was no need  to resolve

            the federal constitutional claim raised by plaintiffs, a fact

            noted   by  the  district  judge  himself  as  a  reason  for

            certification.    Williams,  926  F.   Supp.  at  12.10    By
                              ________

                                
            ____________________

            10.  In the 1994 opinion, the district court stated:
                      "In view of  this Court's  interpretation of  state
            law,           there  is   no   occasion  to   consider   the
            constitutional           question whether  the 1992 amendment
            to 42 U.S.C.             1437f(r) infringes upon the right to
            travel.  A court         should address constitutional issues
            only when a case         cannot be resolved on other grounds.

                                         -14-















            addressing the  state law  question first, the  federal court

            followed the principle that  a case should not be  decided on

            constitutional grounds  if other grounds are  available.  The

            certification process  enabled the  federal court to  seek an

            authoritative interpretation  of state  law from the  state's

            highest court;  but this  proved unnecessary as  the district

            court's own announced view of the state law persuaded HUD and

            the  Authorities  to abandon,  without  more,  their previous

            construction, and  to embrace the one plaintiffs wanted.  The

            state  law question on which the court ruled was thus closely

            entwined with  the federal claims, the  court's addressing of

            it  being an  appropriate  judicial action  taken within  the

            context of the    1983 proceeding itself.  Being  integral to

            the latter and to the federal claims therein, it furnished an

            unexceptionable   basis   for   finding  plaintiffs   to   be

            "prevailing  parties" entitled  to fees  under    1988.   We,

            therefore,   reject  the  district   court's  reasoning  that

            plaintiffs are not entitled  to attorneys' fees because their








                                
            ____________________

            Burton v.           United States, 196  U.S. 283, 295, 25  S.
            ______              _____________
            Ct. 243, 245,       49  L.Ed. 482  (1905).   This  Court will
            confront the        constitutional  question if  the decision
            of the         Supreme Judicial Court on the issues presented
            makes          such confrontation necessary and appropriate."
                Williams, 871 F. Supp. at 535.
                ________

                                         -15-















            success  did   not  derive   from  the  vindication   of  any

            specifically federal right.11

                      We add that it is well-settled in this circuit that

            a   1983 plaintiff  seeking attorneys' fees under    1988 may

            establish  "prevailing party"  status under  a  "catalyst" as

            well as a "merits"  analysis.  See, e.g., Paris, 988  F.2d at
                                           ___  ____  _____

            241.   Plaintiffs argue that  they win under either approach.

            Because the "catalyst" formulation is  so plainly dispositive

            we  need   not  determine  whether   plaintiffs  sufficiently

            prevailed on the  merits of  their claims to  be entitled  to

            fees  under a "merits" analysis  also.  Their  action under  

            1983  was at  least  a "catalyst,"  which  resulted in  their

            achieving precisely  the result  they sought by  bringing the

            action.

                      In order to  qualify for "prevailing party"  status

            under  a catalyst theory, plaintiffs  must show "(1) a causal

            connection between  the litigation and  the relief  obtained,

            and  (2)  that  the  fee-target did  not  act  gratuitously."

            Guglietti v. Secretary  of Health  &amp; Human  Servs., 900  F.2d
            _________    _____________________________________

            397, 401 (1st Cir.  1990) (citing to Nadeau v.  Helgemoe, 581
                                                 ______     ________


                                
            ____________________

            11.  No  question has  been raised  as to  the jurisdictional
            sufficiency  of the  plaintiffs'    1983 action.   It  is not
            suggested  that the  federal  issues alleged  in  the    1983
            action were so wholly unsubstantial or frivolous as to render
            that action a jurisdictional nullity.   See Hagans v. Lavine,
                                                    ___ ______    ______
            415 U.S. 528, 538 (1974); Exeter-West Greenwich, 788  F.2d at
                                      _____________________
            53. 


                                         -16-















            F.2d 275, 280-81 (1st Cir. 1978)).  See also  Paris, 988 F.2d
                                                ___ ____  _____

            at 241.12  The lawsuit need not be the sole cause of the fee-

            target's  remedial  actions,  but  it must  be  a  "competent

            producing  cause of  those actions,"  or play  a "provocative

            role in the calculus of relief."  Guglietti, 900 F.2d at 401.
                                              _________

            See also Paris, 988 F.2d at 241.
            ___ ____ _____

                      Here   there  is  an  undoubted  causal  connection

            between  the     1983  lawsuit and  the  favorable  change in

            Section 8  portability policy.   The district  court conceded

            that plaintiffs' suit "had  some salutary effect."  Williams,
                                                                ________

            926 F.  Supp. at 14.   More significantly, it found  that HUD

            had  accepted  the  court's   ruling  "as  an   authoritative

            declaration of state  law," id.  at 12, leading  HUD and  the
                                        ___

            Authorities  to  abandon  the  EOCD's  ruling  that  had  led

            plaintiffs to seek    1983  relief.  The  end result  cannot,

            therefore, be thought to have come about independently of the

            underlying  litigation, nor can it be said to be unclear that

            the  lawsuit  was significantly  responsible  for the  relief

            obtained by the plaintiffs.   Compare Paris, 988 F.2d  at 241
                                          _______ _____

            ("Congress specifically mentioned the case in the legislative

            history  [of the  amendment] as  being the  'necessary' force

                                
            ____________________

            12.       Other  panels  have   worded  the  two-prong   test
            differently, holding  that, to be a catalyst, the lawsuit (1)
            must be  a "necessary and  important factor" in  achieving an
            end result favorable to  the plaintiffs, and (2) must  not be
            "frivolous,  unreasonable, or  groundless."   See Exeter-West
                                                          ___ ___________
            Greenwich, 788 F.2d at 52; Coalition For Basic Human Needs v.
            _________                  _______________________________
            King, 691 F.2d 597, 599 (1st Cir. 1982).
            ____

                                         -17-















            behind  its  enactment.") with  Guglietti,  900  F.2d at  402
                                      ____  _________

            ("[I]t seems naive in a run-of-the-mine case like this one to

            credit the change in the  law to the [plaintiff's] appeal.").



                      Before  this action  was  filed, both  HUD and  the

            Authorities had taken a firm position towards the plaintiffs'

            plight:    for  the first  twelve  months  of  the Section  8

            tenancy, the plaintiffs were only entitled to housing located

            within  the  municipal  boundaries  of  the   public  housing

            Authority issuing their Section 8 certificates.   It was only

            in the wake of the district court's announced decision to the

            contrary  that  HUD reversed  this  policy  by notifying  all

            Massachusetts   public   housing   authorities   that   their

            "jurisdiction," for  purposes of  Section 8, extended  to any

            community  within  the  Commonwealth,  and  by  granting  the

            plaintiffs  full  portability  rights  under     1437f(r)(1).

            There  is  no  suggestion  that  without  the filing  of  the

            underlying action,  and the  proceedings spawned by  it, this

            change in  Section 8 portability policy  would have occurred.

            Plaintiffs' lawsuit  was not only a  "necessary and important

            factor" in  achieving the  desired result,  it seems  to have

            been the key factor.

                      While  acknowledging that  the plaintiffs  got what

            they wanted in their  lawsuit, the Authorities attribute this

            "practical"  success to HUD's "voluntary" agreement to change



                                         -18-















            its Section  8 portability policy, a  "gratuitous gesture" by

            the  fee-target.  But for reasons already stated, there is no

            reasonable  way that  HUD's  and the  defendant  Authorities'

            change  of heart can be  disassociated from the  lawsuit.  We

            accept that HUD and the Authorities were cooperative once the

            court had  expressed its interpretation  of state law.   They

            might  have continued to fight.   One may  applaud their good

            sense and good will.  Still, a ruling even as to state law by

            an  experienced district  judge is  a significant  matter, as

            these events showed, and the court's ruling was backed by the

            pending  certification to the  highest state court.   HUD and

            the  Authorities would  hardly have  accepted the  ruling had

            they  doubted its  correctness.    The  filing of  this  case

            triggered  a  process before  the  district  court (i.e.  the

            submission   of   papers,  the   holding  of   hearings,  the

            presentation  of arguments,  etc.) that  led to  the district

            court's decision.  It  was in response to that  decision that

            HUD, and the Authorities, changed their Section 8 portability

            policy  in  Massachusetts.   Plaintiffs  are  thus prevailing

            parties as that term is used in 42 U.S.C.   1988.

                                         IV.
                                         IV.

                      Having  found that  the plaintiffs  are "prevailing

            parties" for  purposes of    1988, we now turn  to the second

            issue  presented  for  review,  to wit,  whether  there  were

            "special  circumstances" in  this case meriting  the district



                                         -19-















            court's denial of  attorneys' fees on discretionary  grounds.

            While    1988 provides that attorneys' fees may be granted to

            the prevailing party in the district court's discretion, both

            the  legislative history  and case law  since enactment  of  

            1988 indicate  that prevailing parties may  not ordinarily be

            denied fees except in  special circumstances making the award

            unjust.   The  district court's  "broad discretion"  to award

            fees  to "prevailing parties"  under   1988,  see Sargeant v.
                                                          ___ ________

            Sharp, 579 F.2d 645, 647  (1st Cir. 1978), must be guided  by
            _____

            the  statutory presumption  that  fees should  be awarded  to

            successful   plaintiffs  absent  unusual   situations.    See
                                                                      ___

            generally  S.  Rep. No.  94-1011  (1976),  reprinted in  1976
            _________                                  ____________

            U.S.C.C.A.N. 5908.  A prevailing plaintiff, the Supreme Court

            has said, "should ordinarily recover an attorney's fee unless

            special  circumstances  would render  such an  award unjust."

            Hensley  v. Eckerhart,  461  U.S. 424,  429 (1983)  (citation
            _______     _________

            omitted) (footnote  omitted); Newman v.  Piggie Park  Enters.
                                          ______     ____________________

            Inc., 390 U.S. 400, 402 (1968).  See also David v. Travisono,
            ____                             ___ ____ _____    _________

            621  F.2d  464,  468  (1st Cir.  1980)  (citations  omitted);

            Sargeant,  579 F.2d at 647 (citations omitted).  With this in
            ________

            mind, we review for abuse  of discretion the district court's

            discretionary   determination,   asking  whether   the  court

            identified appropriate "special  circumstances" that  justify

            the denial of fees.





                                         -20-















                      In this circuit, "special circumstances" warranting

            a denial of attorneys' fees  under   1988 have been  found if

            there is  a showing of "outrageous"  or "inexcusable" conduct

            by  plaintiffs (or plaintiffs' counsel) during the litigation

            of the  case.  Lewis v. Kendrick, 944 F.2d 949, 956 (1st Cir.
                           _____    ________

            1991).   In Lewis, this court reversed an award of attorneys'
                        _____

            fees  noting  that the  plaintiff  had  "failed entirely,  or

            largely,  in  everything" and  that  her  lawyers' subsequent

            failure  to  adjust  their  billing  accordingly  was,  thus,

            "inexcusable."   Id. at 955-56.  In  a case where a fee award
                             ___

            was affirmed,  but its amount reduced,  this court reiterated

            that, under  Lewis, "special  circumstances" exist where  the
                         _____

            fee  application  reflects "(1)  no  'good  faith' effort  to

            exclude excessive, redundant, or otherwise unnecessary hours,

            (2)  no reduction for time spent  on unsuccessful claims, and

            (3) no allowance for the limited 'degree of success' achieved

            by  the  plaintiff."   Domegan, 972  F.2d  at 419  (citing to
                                   _______

            Lewis, 944 F.2d at 957-58).  In the instant case, there is no
            _____

            indication  from the record below that any of the parties (or

            their  lawyers)  engaged  in  "outrageous"  or  "inexcusable"

            conduct of this nature,  nor does the court suggest  as much.

            Compare Lewis,  944 F.2d at 955-56, with,  e.g., Domegan, 972
            _______ _____                       ____   ____  _______

            F.2d at 419-20.

                      The district court seems  rather to have employed a

            "balancing  of  the  equities"  test  not  accepted  in  this



                                         -21-















            circuit, see Stefan v. Laurenitis, 889  F.2d 363, 370-71 (1st
                     ___ ______    __________

            Cir. 1989), in finding "special circumstances" in the instant

            case.   The district court first found that the defendants in

            this case had acted in good faith.13  The district court went

            on to acknowledge that "good faith  alone on the part of  the

            Authorities is  insufficient to deny the  Williams Plaintiffs

            attorneys'  fees  . . .",  Williams,   926  F.  Supp.  at  14
                                       ________

            (citation  omitted), the  rule in  this and  apparently every

            other  circuit that has considered the issue.  Indeed, in the

            First Circuit,

                      "[T]he  good faith of defendants is not a
                      controlling factor in determining whether
                      or not plaintiffs  merit an  award...This
                      conforms  to  the  policy underlying  the
                      award  of attorney's fees in civil rights
                      cases...[I]t makes  no difference whether
                      plaintiff's suit yields favorable  out of
                      court  results  because   a  good   faith
                      defendant  is  brought to  understand the
                      illegality of his conduct and  alters his
                      behavior   or   because  an   unrepentant
                      defendant  grudgingly   signs  a  consent
                      decree  to   avoid  continued  litigation
                      expenses in a lost  cause.  The key issue
                                                  _____________
                      is   the   provocative   role    of   the
                      _________________________________________
                      plaintiff's lawsuit,  not the motivations
                      _________________________________________
                      of the defendant."
                      ________________




                                
            ____________________

            13.  The district court stated:
                      "In interpreting their jurisdiction  as prohibiting
            their  contracting  for   housing  outside   of  their   town
            boundaries, the Authorities acted in good faith and appear to
            have   made  significant  efforts   to  assist  the  Williams
            Plaintiffs   in  securing   housing  consistent   with  their
            interpretation of  the  restriction on  their  jurisdiction."
            Williams, 926 F. Supp. at 13-14.
            ________

                                         -22-















            Nadeau, 581 F.2d at 280 (citations omitted) (emphasis added).
            ______

            See also Burke v. Guiney,  700 F.2d 767, 772 (1st  Cir. 1983)
            ___ ____ _____    ______

            ("'Good  faith  by  itself  is  not  a  special  circumstance

            justifying   a   denial  of   attorney's   fees.'")  (quoting

            Teitelbaum v. Sorenson, 648 F.2d 1248, 1250 (9th Cir. 1981)).
            __________    ________



                      Although  the defendants'  good  faith,  in and  of

            itself,  was not enough  to justify the  denial of attorneys'

            fees, the district court found "something more" in this case,

            Williams,  926 F. Supp. at  14, to wit,  the defendants' good
            ________

            faith  reliance on the EOCD's interpretation of Massachusetts

            law.14    The  circuits   are  in  agreement,  however,  that

            defendants' good  faith reliance  even on settled  law (which

            was scarcely the  case here) is not  a "special circumstance"

                                
            ____________________

            14.  The Authorities  suggest that  the  district court  also
            took into account what they regard as the plaintiffs' limited
            success  in the underlying litigation  in denying an award of
            attorneys' fees under   1988.    It is true that, towards the
            end of its opinion, the district court notes:
                 "[I]n  this  case a  balancing  of  the equities  weighs
            against the award of  attorney's fees.  This is  particularly
            so  given the relatively arcane point of state law upon which
            the Williams  Plaintiffs prevailed."  Williams,  926 F. Supp.
                                                  ________
            at 14.
                 Whether the  district  court meant  to identify  another
            "special  circumstance" we  need not  decide here,  as  it is
            well-established   that  ordinarily   "the   degree  of   the
            plaintiff's  success in relation  to the  other goals  of the
            lawsuit is a factor critical to the determination of the size
            of a reasonable fee,  not to eligibility for  a fee award  at
            all."   Texas  State Teachers  Ass'n v.  Garland Indep.  Sch.
                    ____________________________     ____________________
            Dist., 489 U.S. 782, 790 (1989).  We add that where, as here,
            _____
            the goal of the   1983  action was to alter the earlier state
            law  ruling,  and where  that  occurred,  we have  difficulty
            understanding how plaintiffs' success can be termed partial.

                                         -23-















            warranting  a denial  of attorneys'  fees under    1988.   In

            Coalition  For Basic Human Needs  v. King, 691  F.2d 597, 602
            ________________________________     ____

            (1st  Cir. 1982),  where  appellees claimed  that "state  law

            required  them     under threat of  criminal penalties     to

            deny" plaintiffs the Aid  to Families with Dependent Children

            ("AFDC") payments they sought, this court said:

                      "If the appellees mean  this fact to show
                      that they  acted in  good  faith     that
                      they  felt obliged to  withhold the funds
                      and  obliged  to contest  the Coalition's
                      suit     we agree that they  may have had
                      good-faith  reasons  for their  acts, but
                      that is  no reason to  deny the Coalition
                      attorney's  fees.     The  Civil   Rights
                      Attorney's  Fees Awards Act  is not meant
                      as  a  'punishment' for  'bad' defendants
                      who  resist  plaintiffs'  claims  in  bad
                      faith.  Rather, it is meant to compensate
                      civil  rights  attorneys who  bring civil
                      rights cases and win  them.  The need for
                      such law  suits,  and such  payment,  may
                      well  be greatest in just those instances
                      in  which  lawyers   and  officials,   in
                      totally good faith,  have opposing  views
                      about what state and federal law requires
                      of them."


            The underlying  theme in  all of  these  "good faith"  cases,

            then, is that the  analysis under   1988  must focus, not  on

            the  defendants' conduct,  but on  the  harm suffered  by the

            plaintiffs  and the  relief obtained  through their  lawsuit.

            Having  done so,  we  are  unable to  find  that  any of  the

            circumstances  identified  by  the  district  court meet  the

            criteria for  "special circumstances" adequate  to deny  fees

            under the law as it has  developed.  We hold, therefore, that



                                         -24-















            the  district court  exceeded its  discretion in  denying any

            fees on the discretionary basis set forth in its opinion.

                                          V.
                                          V.

                      For  all of  the foregoing  reasons, we  vacate the

            district  court's order  denying the  plaintiffs'  motion for

            attorneys' fees under    1988.   We  remand the  case to  the

            district court for  consideration of the fee application in a

            manner not inconsistent with this opinion.

                      It is so ordered.  Costs for appellant.
                      ________________   ___________________



































                                         -25-









